         Case 4:23-cv-04130 Document 13 Filed on 04/10/24 in TXSD Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    KENNEDY F AMBROISE and PAUL                     §
    DOUGLAS CELESTINE,                              §
                                                    §
           Plaintiffs,                              §
                                                    §
    v.                                              §                Civil Action No. 4:23-cv-04130
                                                    §
    U.S. BANK TRUST NATIONAL                        §
    ASSOCIATION, et al,                             §
                                                    §
    Defendants.                                     §


               DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS

          Defendants U.S. Bank Trust, National Association, not in its Individual Capacity, but

Solely as Trustee of Citigroup Mortgage Loan Trust 2019-E Fay Servicing, LLC1 (“Fay

Servicing”) (collectively “Defendants”) file this Reply in Support of its Motion to Dismiss

(“Motion”) [Doc. 7] in response to Plaintiffs’ attempted response to the Motion [Docs. 11 & 12].

In support thereof, Defendants respectfully show unto the Court the following:

                                                   I.
                                                SUMMARY

          1.      Defendants moved the Court to dismiss this suit under the Federal Rules for failure

to state a claim upon which relief can be granted. Plaintiffs’ mostly unintelligible attempts at

responding to the Motion to Dismiss fall short and they fail to bring forth any factual support or

legal reasoning for the claims to survive dismissal. Plaintiffs have not illustrated to the Court in

any manner why their case should not be immediately dismissed with prejudice.




1
  Defendants were incorrectly named herein as (1) “U.S. Bank Trust Company, National Association” and also
improperly named as (2) “[US Bank Trust National Association] Trustee of Citi Group Mortgage Loan Trust.

Defendants’ Reply in Support of Motion to Dismiss                                              Page 1 of 5
H610-2326 / BDF 8777294
      Case 4:23-cv-04130 Document 13 Filed on 04/10/24 in TXSD Page 2 of 5




        2.       Plaintiffs’ claims, based upon the alleged invalidity of the assignment of U.S.

Bank’s deed of trust and their alleged right to adverse possession fail. To clarify Defendants’

Motion, Plaintiffs’ claims should be dismissed given (1) res judicata and lack of standing bars the

suit; (2) Fraud is not pled to meet Fed. R. Civ. P. 9(b) standard; (3) Plaintiffs’ cannot adversely

possess the property against a lienholder; and (4) Plaintiffs’ multiple filings in response, in an

attempt to add additional claims, is improper.

                                            II.
                                 ARGUMENT AND AUTHORITIES

        3.       In the various filings that may comprise of a response to Defendants’ Motion to

Dismiss, Plaintiffs’ do not properly address Defendants’ Motion and improperly attempt to re-

plead the claims made in this cause. See Docs. 9-12. Nothing in any of the below filed documents

by Plaintiffs addressing the defective nature of their suit against Defendants herein. Plaintiffs’

attempted “response” to the Motion to Dismiss includes the following:

                 a. Objection to the order due to fraudulent facts by Christina a Bryant United

                     States Magistrate. See Doc. 9;

                 b. Multi-motion – consisting of a copy of a response filed in state court action. See

                     Doc. 11; and

                 c. Plaintiffs’ “Evidence” – consisting of a copy of a Motion for in person hearing

                     filed in state court action. See Doc. 12.

        4.       First, as briefed in its Motion, Plaintiffs’ claims are barred by lack of standing.

Plaintiffs are admittedly not parties to the note or deed of trust and have no standing to contest the

lien, the deed of trust and/or the assignments thereof. Reinagel v. Deutsche Bank Nat'l Trust Co.,

735 F.3d 220, 228 (5th Cir. 2013).




Defendants’ Reply in Support of Motion to Dismiss                                           Page 2 of 5
H610-2326 / BDF 8777294
      Case 4:23-cv-04130 Document 13 Filed on 04/10/24 in TXSD Page 3 of 5




        5.       Second, Plaintiffs’ entire suit is barred by res judicata. The doctrine of res judicata

“bars the litigation of claims that either have been litigated or should have been raised in an earlier

suit.” Test Masters Educ. Servs. v. Singh, 428 F.3d 559, 571 (5th Cir. 2005). All elements are met

to bar this case (the third), as:

                 (1)     Plaintiffs are in privity with the plaintiffs in the suit as the successor from

                         Seabron’s interest in the Property. See Sampson v. U.S. Bank NA, No. 4:20-

                         CV-00493, 2020 WL 1321343 (E.D. Tex. Mar. 15, 2021) citing, United

                         States v. Marshall, 798 F.3d 296, 304 (5th Cir. 2015);

                 (2)     A court of competent jurisdiction, this Court, rendered the prior two final

                         judgments;

                 (3)     The prior two lawsuits were dismissed with prejudice; and

                 (4)     The same claim or cause of action was brought or should have been brought

                         in the prior suit – Defendants have previously litigated the validity of its

                         lien and right to its interest in the Property.

        6.       Third, Plaintiffs have no fraud claim. Plaintiffs’ fraud claim does not meet the

pleadings standard of the Federal Rules of Civil Procedure. as it provides no details regarding the

alleged fraud. Fed. R. Civ. P. 9(b). Further, the fraud claim is simply an impermissible collateral attack

on the two prior dismissals and not permitted. Tice v. City of Pasadena, 767 S.W.2d 700, 703 (Tex.

1989)(quoting Crouch v. McGaw, 138 S.W.2d 94, 96 (Tex. 1940)).

        7.       Finally, Plaintiffs’ adverse possession claim fails because under Texas Law, the

adverse possession statutes applicable to a property acquired after abandonment (and not under

title or color of title) requires a minimum possessory period of at least five (5) years. See generally,

Tex. Civ. Prac. & Rem. Code §§ 16.025 and 16.026. Even if Plaintiffs took possession of the



Defendants’ Reply in Support of Motion to Dismiss                                              Page 3 of 5
H610-2326 / BDF 8777294
      Case 4:23-cv-04130 Document 13 Filed on 04/10/24 in TXSD Page 4 of 5




Property 4.5 years ago (they did not), Texas courts have consistently held that adverse possession

is not considered “hostile” with respect to lien holders. See DTND Sierra Investments LLC v. Bank

of New York Mellon Trust Co., 958 F. Supp. 2d 738, 751(W.D. Tex. 2013)(“Accordingly, both the

HOA and Plaintiff took the Property subject to Defendant's Deed of Trust lien and their possession

is consistent with, not adverse to, that interest.”).

        8.       Even giving all leeway possible to Plaintiffs attempted responses to the Motion to

Dismiss, Plaintiffs’ claims fail and dismissal is appropriate for the reasoning as set out herein.

                                                  III.
                                              CONCLUSION

        Plaintiffs fails to state a claim upon which relief can be granted. Accordingly, Defendants

respectfully request that their Motion to Dismiss be granted and Plaintiffs’ claims be dismissed

with prejudice. Defendants further request all relief, at law or in equity, to which they are entitled.


                                                    Respectfully submitted,

                                                    By:    /s/ Shelley L. Hopkins
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Defendants’ Reply in Support of Motion to Dismiss                                            Page 4 of 5
H610-2326 / BDF 8777294
      Case 4:23-cv-04130 Document 13 Filed on 04/10/24 in TXSD Page 5 of 5




                                                      ATTORNEYS FOR DEFENDANTS
                                                      U.S. BANK AND FAY SERVICING

                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of April 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA CMRRR and Regular Mail
Paul Douglas Celestine
9122 Edgeloch Drive
Spring, Texas 77379
PRO SE PLAINTIFF


VIA CMRRR and Regular Mail
Kennedy F. Ambroise
9122 Edgeloch Drive
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PRO SE PLAINTIFF

                                                      /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins




Defendants’ Reply in Support of Motion to Dismiss                                           Page 5 of 5
H610-2326 / BDF 8777294
